                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       CRIMINAL ACTION NO.: 3:97 CR 184-13


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                         ORDER
WENDELL ANTHONY JACKSON,            )
                                    )
            Defendant.              )
____________________________________)

        THIS MATTER is before the Court on Defendant’s “Motion for Reduction of Sentence

Pursuant to Title 18 U.S.C. 3582(c)(2) and USSG § 1B1.10(c),” (file doc. 610), filed January 27,

2006.

        On August 6, 1998, Defendant entered a straight-up guilty plea to conspiracy to possess

with intent to distribute, and distribute, a quantity of cocaine and cocaine base within 1,000 feet

of a protected area, in violation of 21 U.S.C. §§ 841(a)(1), 846, and 860. Defendant was

sentenced on May 17, 1999, and a Judgment was entered against Defendant on June 18, 1999,

sentencing Defendant to two hundred sixty-two (262) months incarceration. Defendant appealed

his conviction and sentence on May 17, 1999, and the Fourth Circuit affirmed this Court’s

Judgment on December 10, 1999, in an unpublished opinion. On December 12, 2000, Defendant

filed a Motion to Vacate under 28 U.S.C. § 2255, which this Court denied on June 18, 2002. The

Defendant now asks this Court to modify his sentence pursuant to 18 U.S.C. § 3582(c)(2).

        Under 18 U.S.C. § 3582(c)(2), a court may modify an imposed term of imprisonment

where the defendant has “been sentenced to a term of imprisonment based on a sentencing range




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that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. §

994(o) . . . [and] after considering the factors set forth in section 3553(a) . . . if such a reduction

is consistent with applicable policy statements issued by the Sentencing Commission.” Section

3582(c)(2) is only applicable to instances where a defendant is sentenced and a provision in the

Sentencing Guidelines is subsequently amended, which, had the amendment occurred prior to the

defendant’s sentencing, would have resulted in a lower term of imprisonment. In such an

instance, the court has the discretion to amend the defendant’s term of imprisonment, but only

after also considering the factors listed in § 3553(a) and the policy statements issued by the

Sentencing Commission. This is not the situation now before this Court.

        Defendant argues that Amendment 591 to the Sentencing Guidelines allows a reduction

in his sentence. Defendant correctly states in his Motion that Amendment 591 requires the

sentencing court to look to the statute of conviction to enhance a sentence for a drug offense near

a protected location, rather than to enhance for conforming conduct. (Def.’s Mot. at 6.)

Therefore, in order for the enhanced penalties for a drug offense near a protected area to apply,

Defendant must have been convicted of such an offense, rather than just simply to have engaged

in such conduct. See United States v. Whitaker, 2005 WL 3240662, *3 (D.S.C. 2005).

        However, a review of the record reveals that Defendant did plead guilty to conspiracy to

possess with intent to distribute, and distribute, a quantity of cocaine and cocaine base within

1,000 feet of a protected area, in violation of 21 U.S.C. §§ 841(a)(1), 846, and 860. Moreover,

Defendant concedes that Count One of the Indictment, to which he pled guilty, included a

violation of 21 U.S.C. § 860. (Def.’s Mot. at 4.) Thus, it was entirely proper for his sentence to

be enhanced based on the conviction of a drug offense near a protected location. For these


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reason, Defendant’s sentence comports with Amendment 591.

       IT IS, THEREFORE, ORDERED that the Defendant’s “Motion for Reduction of

Sentence Pursuant to Title 18 U.S.C. 3582(c)(2) and USSG § 1B1.10(c),” (file doc. 610), is

hereby DENIED.

                                               Signed: April 11, 2006




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